         Case 1:20-cv-02405-EGS Document 77 Filed 11/03/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 VOTE FORWARD, et al.,

                                Plaintiffs,

        v.
                                                        Civil Case No. 1:20-cv-02405
 LOUIS DEJOY, in his official
 capacity as the Postmaster General; and the
 UNITED STATES POSTAL SERVICE,

                               Defendants.



                  MOTION FOR IMMEDIATE STATUS CONFERENCE

       Plaintiffs respectfully submit that the certification provided by Defendants does not

comply with the Court’s order and respectfully request an immediate status conference to

address next steps.

November 3, 2020                               Respectfully submitted,

                                                /s Shankar Duraiswamy________
                                               Shankar Duraiswamy
                                               Megan C. Keenan
                                               Virginia Williamson
                                               Sarah Suwanda
                                               James Smith
                                               COVINGTON & BURLING LLP
                                               One CityCenter
                                               850 Tenth Street, NW
                                               Washington, DC 20001-4956
                                               (202) 662-6000
                                               sduraiswamy@cov.com
                                               mkeenan@cov.com
                                               vwilliamson@cov.com
                                               ssuwanda@cov.com
                                               jmsmith@cov.com

                                               Robert D. Fram
                                               Diane Ramirez


                                                  1
Case 1:20-cv-02405-EGS Document 77 Filed 11/03/20 Page 2 of 2




                           COVINGTON & BURLING LLP
                           Salesforce Tower
                           415 Mission Street, Suite 5400
                           San Francisco, CA 94105-2533
                           (415) 591-6000
                           rfram@cov.com
                           dramirez@cov.com

                           John Fraser
                           COVINGTON & BURLING LLP
                           The New York Times Building
                           620 Eighth Avenue
                           New York, NY 10018-1405
                           (212) 841-1000
                           jfraser@cov.com
                           Counsel for Plaintiffs




                              2
